     Case No. 1:25-cr-00046-GPG-JMC                         Document 1        filed 01/23/25        USDC Colorado         pg
                                                                1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                        District
                                                  __________     of Colorado
                                                              District of __________

                  United States of America                         )
                             v.                                    )
                    LANSON MANNING
                                                                   )      Case No.
                                                                   )                 25-mj-14-JMC
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  December 2, 2024              in the county of             Montezuma          in the
     State and         District of            Colorado         , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. §§ 113(a)(6), 1153                    Assault Resulting in Serious Bodily Injury in Indian Country




         This criminal complaint is based on these facts:
See Affidavit, attached hereto.




         u Continued on the attached sheet.

                                                                                              /s/ Asher Spaulding
                                                                                              Complainant’s signature

                                                                                     Asher Spaulding, BIA-Special Agent
                                                                                               Printed name and title

Sworn to before me and signed E\UHOLDEOHHOHFWURQLFPHDQV.


Date:             01/23/2025
                                                                                                 Judge’s signature

City and state:                         Durango, Colorado                       Hon. Magistrate Judge James M. Candelaria
                                                                                               Printed name and title
